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STATE OF MICHIGAN
17TH JuchlAL cchulT couRT

PATR|C|A D. GARDNER 7 ' SUITE 9500 D
JUDGE 180 OTTAWA AvENu'E va
GRAND RAP:DS, MscH)GAN 49503-2751

December 17, 2003

Atty James S. Brady

Miller, Johnson, Snell & Cummiskey, PLC
Calder Plaza Building

250 Monroe Avenue, N.W., Suite 800

P.O. Box 306

Grand Rapids, MI 49501-0306

Re: Ryans v McGinn-Loomis and Benedict
U.S. District Court Case No. l:03-CV-0439

Dear Mr. Brady:

I have received and reviewed your letter dated December 8,
2003, requesting potential dates for my deposition in the
above federal action, prior to February l, 2004.

Please be advised that the Michigan Code of Judicial
Conduct prohibits your request. Canon 3(6) states in part:

“(6) A judge should abstain from public comment about
a pending or impending proceeding in any court, and should
require a similar abstention on the part of court personnel
subject to the judge's direction and control.”

The state court action of Ryan v Ryan, File No. 01-09528-DZ
is currently pending with the Michigan Court of Appeals.

It is therefore inappropriate to speak about the case, at
deposition or otherwise, until the matter has concluded.

 

Patricia D¢/Gardner
Judge of Probate

PHONE: (616) 632~5070 ¢ FAX: (616) 632-5074

